             19-23717-rdd               Doc 1     Filed 09/26/19            Entered 09/26/19 14:30:39                 Main Document
                                                                           Pg 1 of 105
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

        Southern District Of New York
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                               
                                                               X   Chapter 7
                                                                  Chapter 11
                                                                  Chapter 12
                                                                  Chapter 13                                                Check if this is an
                                                                                                                                amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                         About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture         Adam
                                         __________________________________________________            __________________________________________________
                                         First name                                                    First name
       identification (for example,
       your driver’s license or          P.
                                         __________________________________________________            __________________________________________________
       passport).                        Middle name                                                   Middle name

       Bring your picture                Hutter
                                         __________________________________________________            __________________________________________________
       identification to your meeting    Last name                                                     Last name
       with the trustee.                 ___________________________                                   ___________________________
                                         Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you                __________________________________________________            __________________________________________________
      have used in the last 8            First name                                                    First name
      years
                                         __________________________________________________            __________________________________________________
       Include your married or           Middle name                                                   Middle name
       maiden names.                     __________________________________________________            __________________________________________________
                                         Last name                                                     Last name

                                         __________________________________________________            __________________________________________________
                                         First name                                                    First name

                                         __________________________________________________            __________________________________________________
                                         Middle name                                                   Middle name
                                         __________________________________________________            __________________________________________________
                                         Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security               xxx    – xx – ____
                                                        7 ____
                                                            6 ____
                                                                5 ____
                                                                   1                                  xxx    – xx – ____ ____ ____ ____
      number or federal                  OR                                                           OR
      Individual Taxpayer
      Identification number              9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
            19-23717-rdd            Doc 1           Filed 09/26/19           Entered 09/26/19 14:30:39                    Main Document
                                                                            Pg 2 of 105
Debtor 1        Adam P. Hutter
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               Hutter Auction Galleries LLC
                                           _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           31 Chestnut Ridge Way
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Dobbs Ferry                     NY      10522
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           WESTCHESTER
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
            19-23717-rdd            Doc 1           Filed 09/26/19             Entered 09/26/19 14:30:39                  Main Document
                                                                              Pg 3 of 105
Debtor 1        Adam P. Hutter
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
            19-23717-rdd                 Doc 1           Filed 09/26/19           Entered 09/26/19 14:30:39                      Main Document
                                                                                 Pg 4 of 105
Debtor 1        Adam  P. Hutter
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
            19-23717-rdd                Doc 1         Filed 09/26/19           Entered 09/26/19 14:30:39                        Main Document
                                                                              Pg 5 of 105
Debtor 1        Adam P. Hutter
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
           19-23717-rdd             Doc 1           Filed 09/26/19             Entered 09/26/19 14:30:39                      Main Document
                                                                              Pg 6 of 105
Debtor 1       Adam  P. Hutter
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                
                                                X   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                
                                                X   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                       
                                         X No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                
                                           X 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           X $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            s/Adam P. Hutter
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          09/26/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
           19-23717-rdd          Doc 1           Filed 09/26/19            Entered 09/26/19 14:30:39                       Main Document
                                                                          Pg 7 of 105
Debtor 1     Adam P. Hutter
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        s/JEFFREY
                                         _________________________________
                                                   L. SAPIR                                                 Date           _________________
                                                                                                                           09/26/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           JEFFREY L. SAPIR
                                           _________________________________________________________________________________________________
                                           Printed name

                                           JEFFREY L. SAPIR
                                           _________________________________________________________________________________________________
                                           Firm name

                                           10 Topaz Court
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Suffern
                                           ______________________________________________________ NY
                                                                                                  ____________ 10901
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (914) 328-7272
                                           Contact phone _____________________________________             Email address   INFO@SAPIRLAW.COM
                                                                                                                           ______________________________




                                           0938                                                   NY
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
              19-23717-rdd             Doc 1          Filed 09/26/19            Entered 09/26/19 14:30:39                Main Document
                                                                               Pg 8 of 105
Fill in this information to identify your case and this filing:


Debtor 1          Adam                   P.                    Hutter
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Southern District of New York
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 31  Chestnut Ridge Way
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          599,000.00
                                                                                                                   $________________         299,500.00
                                                                                                                                            $_______________
                                                                     Investment property
             Dobbs  Ferry             NY 10522
             _________________________________________
                                                                     Timeshare                                    Describe the nature of your ownership
             City                        State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Tenancy  by the Entirety
                                                                                                                   __________________________________________
             Westchester                                         Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                 X At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
           19-23717-rdd              Doc 1         Filed 09/26/19              Entered 09/26/19 14:30:39                        Main Document
Debtor 1       Adam         P.               Hutter              Pg 9 of 105
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name   Middle Name      Last Name




                                                              What is the property? Check all that apply.                 Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                  Single-family home                                     the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description       Duplex or multi-unit building
                                                                  Condominium or cooperative                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________               Manufactured or mobile home
                                                                  Land                                                   $________________         $_________________

           ________________________________________
                                                                  Investment property
           City                    State   ZIP Code               Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                  Other __________________________________               the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                              Who has an interest in the property? Check one.
           ________________________________________           
                                                               Debtor 1 only
           County
                                                              
                                                               Debtor 2 only
                                                              
                                                               Debtor 1 and Debtor 2 only                                  Check if this is community property
                                                              
                                                               At least one of the debtors and another
                                                                                                                              (see instructions)

                                                              Other information you wish to add about this item, such as local
                                                              property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  299,500.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                    Honda
                                    ______________            Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                   Odyssey
                                    ______________
                                                              Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                    2006
                                                              Debtor 2 only
           Year:                    ____________
                                                              Debtor 1 and Debtor 2 only                                Current value of the      Current value of the
                                    120000                                                                                entire property?          portion you own?
           Approximate mileage:     ____________              
                                                              X At least one of the debtors and another
           Other information:
                                                                Check if this is community property (see                  2,402.00
                                                                                                                          $________________          1,201.00
                                                                                                                                                    $________________
           jointly owned with wife
                                                                  instructions)



   If you own or have more than one, describe here:

           Make:                    ______________            Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                   ______________
                                                              
                                                               Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                              
                                                               Debtor 2 only
           Year:                    ____________
                                                              
                                                               Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                  
                                                               At least one of the debtors and another
           Other information:
                                                                Check if this is community property (see                 $________________         $________________
                                                                  instructions)




Official Form 106A/B                                           Schedule A/B: Property                                                                      page 2
            19-23717-rdd                      Doc 1             Filed 09/26/19                     Entered 09/26/19 14:30:39                                     Main Document
Debtor 1           Adam         P.               Hutter             Pg 10 of 105
                   _______________________________________________________                                                       Case number (if known)_____________________________________
                   First Name   Middle Name      Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       1,201.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
             19-23717-rdd                          Doc 1              Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1            Adam         P.               Hutter
                    _______________________________________________________         Pg 11 of 105  Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          Usual Household items                                                                                                                                       2,500.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... TV, Computer, monitor                                                                                                                                               1,500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........Usual clothing                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........
                                 Wedding ring, watch and initial ring                                                                                                                                100.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       4,600.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
            19-23717-rdd                               Doc 1                 Filed 09/26/19                              Entered 09/26/19 14:30:39                                                Main Document
Debtor 1            Adam         P.               Hutter             Pg 12 of 105
                    _______________________________________________________                                                                                    Case number (if known)_____________________________________
                    First Name   Middle Name      Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................    Cash: .......................     50.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             Chase Bank joint account
                                                                                                 _________________________________________________________                                                             250.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       Merrill Lynch Joint account
                                                                                                  _________________________________________________________                                                            500.00
                                                                                                                                                                                                                      $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No                                      Name of entity:                                                                                                                         % of ownership:
   
   X Yes. Give specific                      stock in Hutter Auction Galleries LLC (out of business)
                                             _____________________________________________________________________ 100
                                                                                                                   ___________%                                                                                        0.00
                                                                                                                                                                                                                      $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
            19-23717-rdd                          Doc 1        Filed 09/26/19               Entered 09/26/19 14:30:39           Main Document
Debtor 1           Adam         P.               Hutter             Pg 13 of 105
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name   Middle Name      Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
   
   X   Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________        $__________________

                                         Pension plan:             ___________________________________________________________________        $__________________

                                         IRA:                      Chase  Bank
                                                                   ___________________________________________________________________         1,000.00
                                                                                                                                              $__________________

                                         Retirement account:       ___________________________________________________________________        $__________________

                                         Keogh:                    ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________         $___________________
                                         Gas:                  ______________________________________________________________________         $___________________
                                         Heating oil:          ______________________________________________________________________         $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
            19-23717-rdd                            Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1           Adam         P.               Hutter
                   _______________________________________________________    Pg 14 of 105  Case number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
   
   X   Yes .....................................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                    NYS  529 account
                                                    ____________________________________________________________________________________                  57,662.37
                                                                                                                                                         $_________________
                                                    NYS  529 Account
                                                    ____________________________________________________________________________________                  26,327.86
                                                                                                                                                         $_________________
                                                    ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      No
   
   X   Yes. Give specific                          Drivers License and Auctioneer's License
       information about them. ..                                                                                                                         0.00
                                                                                                                                                         $__________________


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                          Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                      State:                $_________________
            and the tax years. ......................
                                                                                                                               Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                              Alimony:                   $________________
                                                                                                                              Maintenance:               $________________
                                                                                                                              Support:                   $________________
                                                                                                                              Divorce settlement:        $________________
                                                                                                                              Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                         $______________________



Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 7
             19-23717-rdd                          Doc 1              Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1            Adam         P.               Hutter
                    _______________________________________________________         Pg 15 of 105  Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       85,790.23
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
             19-23717-rdd                          Doc 1              Filed 09/26/19                         Entered 09/26/19 14:30:39                                           Main Document
Debtor 1            Adam         P.               Hutter             Pg 16 of 105
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name   Middle Name      Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                19-23717-rdd                           Doc 1               Filed 09/26/19                           Entered 09/26/19 14:30:39                                             Main Document
 Debtor 1              Adam         P.               Hutter             Pg 17 of 105
                       _______________________________________________________                                                                        Case number (if known)_____________________________________
                       First Name   Middle Name      Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      299,500.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    1,201.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               4,600.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           85,790.23
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             91,591.23
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  91,591.23


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        391,091.23
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
            19-23717-rdd             Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                                     Main Document
                                                                Pg 18 of 105
 Fill in this information to identify your case:

 Debtor 1          Adam  P. Hutter
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Southern District ofofNew York
                                         _____________________________________________
                                          __________ District   __________

 Case number
  (If known)
                     ___________________________________________                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   one family residence owned as                                                                            CPLR § 5206
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   tenants by entirety
                                                           299,500.00
                                                          $________________            
                                                                                       X $ 170,825.00
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 1.0                                                                   any applicable statutory limit
                    ______                                                                                                  ____________________________

                   Usual Household items                                                                                    CPLR § 5205(a)(5)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                           2,500.00
                                                          $________________               2,500.00
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 6
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   TV, Computer, monitor                                                                                    CPLR § 5205(a)(5)
                                                                                                                            ____________________________
      Brief
      description:
                                                           1,500.00
                                                          $________________            
                                                                                       X $ 1,500.00
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    7                                                                     any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                         2
                                                                                                                                                    page 1 of __
           19-23717-rdd              Doc 1     Filed 09/26/19            Entered 09/26/19 14:30:39                    Main Document
Debtor 1     Adam  P. Hutter                                  Pg 19 of 105
             _______________________________________________________                         Case number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:     Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        Usual clothing                                                                                 CPLR § 5205(a)(5)
                                                                                                                 ____________________________
     description: _________________________             500.00
                                                       $________________         500.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 11
                   ______                                                        any applicable statutory limit ____________________________

     Brief        Wedding ring, watch and initial                                                                  CPLR § 5205(a)(6)
                                                                                                                   ____________________________
     description: ring
                  _________________________
                                                        100.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  100.00
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          12
                          ______                                                                                   ____________________________

     Brief        IRA                                                                                              Debtor & Creditor Law Sec 282(iii)(2)
                                                                                                                   ____________________________
     description: _________________________
                                                        1,000.00
                                                       $________________         1,000.00
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: 21                                                            any applicable statutory limit    ____________________________
                   ______
                  2006 Honda Odyssey with                                                                        CPLR § 5205(a)(8)
                                                                                                                 ____________________________
     Brief
     description: 120000 miles.
                  _________________________
                                                        1,201.00
                                                       $________________         4,550.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 3.1
                   ______                                                        any applicable statutory limit ____________________________

     Brief        Drivers License and Auctioneer's                                                                 ____________________________
                  License
     description: _________________________
                                                    0.00
                                                   $________________             0.00
                                                                              X $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          27
                          ______                                                                                   ____________________________

                  NYS 529 college account for son                                                                  CPLR § 5205(j)(3)
                                                                                                                   ____________________________
     Brief
     description: _________________________
                                                   57,662.37
                                                  $________________              57,662.37
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________
                   24
                  NYS 529 college account for                                                                    CPLR § 5205(j)(3)
                                                                                                                 ____________________________
     Brief
                  daughter
     description: _________________________
                                                        26,327.86
                                                       $________________         26,327.86
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
                   24
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                 ____________________________
     Brief
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description:                                      $________________       $ ____________                     ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                             2 of __
                                                                                                                                        page ___   2
              19-23717-rdd                  Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                                            Main Document
                                                                       Pg 20 of 105
Fill in this information to identify your case:

Debtor 1          Adam  P. Hutter
                  __________________________________________________________________
                    First Name                   Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name                      Last Name


United States Bankruptcy Court for the: Southern District of New York
                                        ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                                  Check if this is an
                                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X      Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                              Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                       Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                   Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                            value of collateral.   claim                 If any

2.1                                                            Describe the property that secures the claim:                   295,388.09
                                                                                                                              $_________________  599,000.00
                                                                                                                                                 $________________  0.00
                                                                                                                                                                   $____________
      See  Attachment 1
      ______________________________________
      Creditor’s Name

      P.O.B. 60516
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      City of Industry      CA 91716
      ______________________________________                      Unliquidated
      City                   State ZIP Code                       Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
        Debtor 1 only                                         
                                                               X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                             car loan)
        Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
   
   X     At least one of the debtors and another                  Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
2.2                                                            Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      ______________________________________                      Unliquidated
      City                          State    ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
        Debtor 1 only                                            An agreement you made (such as mortgage or secured
        Debtor 2 only                                             car loan)
        Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                  Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                   295,388.09
                                                                                                                              $_________________


  Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                                 1
                                                                                                                                                                 page 1 of ___
         19-23717-rdd          Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                                         Pg 21 of 105

                                                  Attachment
                                         Debtor: Adam P. Hutter Case No:


Attachment 1
     Nationstar Mortgage LLC d/b/a Mr. Cooper
             19-23717-rdd                 Doc 1            Filed 09/26/19 Entered 09/26/19 14:30:39                                    Main Document
 Fill in this information to identify your case:                         Pg 22 of 105
 Debtor 1             Adam                  P.                    Hutter
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Southern District of New York
                                         ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     22
                                                                                                                                                          page 1 of ___
Debtor 1
           19-23717-rdd
              Adam                 Doc
                                    P. 1 Filed 09/26/19
                                                      Hutter      Entered 09/26/19
              _______________________________________________________
                                                                                    14:30:39 Main Document
                                                                               Case number (if known)_____________________________________
              First Name   Middle Name      Last Name          Pg 23 of 105
  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
4.1
       1st Dibs
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                        3,492.00
                                                                                                                                                         $__________________
                                                                                 When was the debt incurred?           ____________
       90 Fifth Avenue 9th Floor
       _____________________________________________________________
       Number           Street

       New  York                      NY      10011
       _____________________________________________________________
       City                                             State    ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated
             Debtor 1 only                                                      
                                                                                 X   Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
       
       X      At least one of the debtors and another                               Student loans

             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                    Other. Specify ______________________________________
             Yes

4.2                                                                              Last 4 digits of account number ___ ___ ___ ___                          2,140.00
                                                                                                                                                         $__________________
       Alex Melnitzky
       _____________________________________________________________
       Nonpriority Creditor’s Name                                               When was the debt incurred?           ____________
       322 East 77th Street #1F
       _____________________________________________________________
       Number           Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       New York                       NY      10075
       _____________________________________________________________
       City                                             State    ZIP Code
                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated

             Debtor 1 only
                                                                                 
                                                                                 X   Disputed

             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
       
       X      At least one of the debtors and another                               Student loans
                                                                                    Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                    Other. Specify ______________________________________

             Yes

4.3
       Amy Schenkein
       _____________________________________________________________             Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                          4,871.00
       Nonpriority Creditor’s Name                                                                                                                       $_________________
                                                                                 When was the debt incurred?           ____________
       21 Wormwood Street #622
       _____________________________________________________________
       Number           Street

       Boston                         MA      02210
       _____________________________________________________________             As of the date you file, the claim is: Check all that apply.
       City                                             State    ZIP Code

                                                                                    Contingent
       Who incurred the debt? Check one.
                                                                                    Unliquidated
             Debtor 1 only
                                                                                 
                                                                                 X   Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
       
       X      At least one of the debtors and another
                                                                                    Student loans
             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                    Other. Specify ______________________________________
             Yes




  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        2 of ___
                                                                                                                                                              page __   22
Debtor 1
             19-23717-rdd
                Adam                 Doc
                                      P. 1 Filed 09/26/19
                                                        Hutter      Entered 09/26/19
                _______________________________________________________
                                                                                      14:30:39 Main Document
                                                                                 Case number (if known)_____________________________________
                First Name   Middle Name      Last Name          Pg 24 of 105
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                Last 4 digits of account number ___ ___ ___ ___
      Anatoli Lapushner
      _____________________________________________________________                                                                                         2,776.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      c/o Galina Ivanova 46 West 83rd Street #3A
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      New York                       NY      10024
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            
                                                                                   X   Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      
      X      At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes



4.5
      Arlene Isaacs                                                                Last 4 digits of account number ___ ___ ___ ___                          320.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      875 West End Avenue #14C
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      New York                       NY      10025
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            
                                                                                   X   Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      
      X      At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                         3,170.00
                                                                                                                                                           $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      Barry Calamia
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      4801 Glenwood Road
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Brooklyn                       NY          11234
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            
                                                                                   X   Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      
      X      At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    3 of ___
                                                                                                                                                           page __   22
Debtor 1
             19-23717-rdd
                Adam                 Doc
                                      P. 1 Filed 09/26/19
                                                        Hutter      Entered 09/26/19
                _______________________________________________________
                                                                                      14:30:39 Main Document
                                                                                 Case number (if known)_____________________________________
                First Name   Middle Name      Last Name          Pg 25 of 105
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.7                                                                                Last 4 digits of account number ___ ___ ___ ___
      Bret Morrison
      _____________________________________________________________                                                                                         8,000.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      3155 East Ramon Road
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Palm Springs                   CA      99264
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                            
                                                                                   X   Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      
      X      At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes



4.8
                                                                                                                    2 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          8 ___
                                                                                                                             0                              37,000.00
                                                                                                                                                           $____________
      Capital One
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      POB 85111
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Richmond                       VA      23285-5111
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      
      X      At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                         2,000.00
                                                                                                                                                           $____________
                                                                                                                    3 ___
                                                                                   Last 4 digits of account number ___ 6 ___
                                                                                                                          3 ___
                                                                                                                             5
      Capital One
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      Attn: Mail Teller POB 17219
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Baltimore                      MD          21297
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
      
      X      At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
                                                                                                                                                           page __   22
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 26 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.10                                                                                                                 3 ___
                                                                                    Last 4 digits of account number ___ 7 ___
                                                                                                                           3 ___
                                                                                                                              2
       Capital One
       _____________________________________________________________                                                                                         4,000.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       POB 30283
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Salt Lake City                 UT      84130-0285
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.11
       Chase                                                                        Last 4 digits of account number ___ ___ ___ ___                          5,040.52
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       POB 15123
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Wilmington                     DE      19850-5123
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                         15,920.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Dean  Stracuzza
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       110 Locust Lane
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Northport                      NY          11768
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    5 of ___
                                                                                                                                                            page __   22
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 27 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.13                                                                                Last 4 digits of account number ___ ___ ___ ___
       Eric Englebert
       _____________________________________________________________                                                                                         3,120.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       31 Nothside Drive
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Coram                          NY      11727
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.14
       Estate of Bruce Albone                                                       Last 4 digits of account number ___ ___ ___ ___                          5,548.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o AnneMarie Varga 2489 Pinny Bark Drive
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Virginia Beach                 VA      23456
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                         6,000.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Estate of Francois Levinthal
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Lisa Levinthal 725 West 184th Street Apt. 2N
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10033
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    6 of ___
                                                                                                                                                            page __   22
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 28 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.16                                                                                Last 4 digits of account number ___ ___ ___ ___
       Estate of Jeff Hunter
       _____________________________________________________________                                                                                         5,980.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Martin Jaffe 1415 Boston Post Road
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Larchmont                      NY      10538
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.17
       Estate of Jerome Adesman                                                     Last 4 digits of account number ___ ___ ___ ___                          10,000.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Andrew Adesman 120 Georgian Court
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Roslyn                         NY      11576
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                         600.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Glenn Lillibridge
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       100 Prince Street #5
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    7 of ___
                                                                                                                                                            page __   22
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 29 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.19                                                                                Last 4 digits of account number ___ ___ ___ ___
       Greg Muczynski
       _____________________________________________________________                                                                                         872.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       1955 East 7th Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Brooklyn                       NY      11768
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.20
       Howard Dawson                                                                Last 4 digits of account number ___ ___ ___ ___                          760.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       329 Main Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Unadilla                       NY      13849
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                         1,568.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Israel Gitman
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Gabriel Drillich 12 west 72nd Street #27B
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10021
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    8 of ___
                                                                                                                                                            page __   22
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 30 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.22                                                                                Last 4 digits of account number ___ ___ ___ ___
       Jill Bossert
       _____________________________________________________________                                                                                         7,798.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       52 Garden Place
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Brooklyn                       NY      11201
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.23
       Kabbage on Line                                                              Last 4 digits of account number ___ ___ ___ ___                          59,000.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       925 B Peachtree Street NE #1688
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Atlanta                        GA      30309
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.24                                                                                                                                                         175.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Krzysztof Kubinski
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       ul. Jagiellonczyka 5/13
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Wroclaw                        Poland
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    9 of ___
                                                                                                                                                            page __   22
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 31 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.25                                                                                Last 4 digits of account number ___ ___ ___ ___
       LG Funding
       _____________________________________________________________                                                                                         60,454.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       1218 Union Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Brooklyn                       NY      11225
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
       
       X      Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.26
       Liberty Mutual Insurance                                                     Last 4 digits of account number ___ ___ ___ ___                          492.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       POB 85830
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       San Diego                      CA      92186
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.27                                                                                                                                                         652.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Lucia Pavoni
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Lucia Pavoni Colasanti 166 East 63rd Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10065
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 10    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 32 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.28                                                                                Last 4 digits of account number ___ ___ ___ ___
       Marc Neer
       _____________________________________________________________                                                                                         7,638.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       220 East 65th Street #7G
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10065
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.29
       Marcio Rosenhek                                                              Last 4 digits of account number ___ ___ ___ ___                          800.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       Rua Da Crasa, Giu Ap.72
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       So Paolo                       Brazil
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.30                                                                                                                                                         2,800.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Marian Green
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       430 East 86th Street #3c
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10028
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 11    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 33 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.31                                                                                Last 4 digits of account number ___ ___ ___ ___
       Mary Gelber
       _____________________________________________________________                                                                                         3,352.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       304 Clinton Place
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Hackensack                     NJ      07601
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.32
       Meryl Hittman                                                                Last 4 digits of account number ___ ___ ___ ___                          13,458.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       286 Argyle Avenue
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Brooklyn                       NY      11218
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.33                                                                                                                                                         280.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Michael Fisher
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       15 Charles Street #4H
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10014
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 12    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 34 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.34                                                                                Last 4 digits of account number ___ ___ ___ ___
       Newark Museum
       _____________________________________________________________                                                                                         2,836.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       59 Washington Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Newark                         NJ      07102
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.35
       Normandy Real Estate                                                         Last 4 digits of account number ___ ___ ___ ___                          30,000.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Terminal Fee Owner LP 261 11th Avenue
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10001
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.36                                                                                                                                                         2,248.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Paris Fields
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o J. Garvin Mecking 314 Main Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Sag Harbor                     NY          11963
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 13    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 35 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.37                                                                                Last 4 digits of account number ___ ___ ___ ___
       PayPal
       _____________________________________________________________                                                                                         42,457.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o WebBank 215 South State Street, Suite 1000
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Salt Lake City                 UT      84111-2339
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.38
       Peddie School                                                                Last 4 digits of account number ___ ___ ___ ___                          2,933.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Melissa Von Stade 201 South Main Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Hightstown                     NJ      08540
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.39                                                                                                                                                         18,726.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Priska Juschka & Arnold Katzen
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       547 West 27th Street, Suite 307
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10001
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 14    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 36 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.40                                                                                Last 4 digits of account number ___ ___ ___ ___
       Rebecca Bradley
       _____________________________________________________________                                                                                         400.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       217 27th Street #2
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Brookyn                        NY      11232
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.41
       Rick Stein                                                                   Last 4 digits of account number ___ ___ ___ ___                          1.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Signature Bank 261 Madison Avenue, 20th Floor
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10016
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.42                                                                                                                                                         3,532.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Rosalind Rosenberg
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       1191 Pafrk Avenue
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY          10128
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 15    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 37 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.43                                                                                Last 4 digits of account number ___ ___ ___ ___
       Sally Daniels
       _____________________________________________________________                                                                                         1,164.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       201 East 25th Street #16A
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10010
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.44
       Shapiro Auctions                                                             Last 4 digits of account number ___ ___ ___ ___                          11,170.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       506 East 74th Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10021
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.45                                                                                                                                                         2,412.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Shawn  Slevin
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       59-15 47th Ave. #15C
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Woodside                       NY          11377
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 16    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 38 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.46                                                                                Last 4 digits of account number ___ ___ ___ ___
       Steve Fallas
       _____________________________________________________________                                                                                         7,586.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       60 West 57th Street #3L
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10019
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.47
       Suzanne Dirks                                                                Last 4 digits of account number ___ ___ ___ ___                          1,000.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       50 1/2 Barrow Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10014
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.48                                                                                                                                                         1,120.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Taras Lishchynskiy
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       Svobody 99
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       30500 Polonne                  Ukraine
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 17    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 39 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.49                                                                                Last 4 digits of account number ___ ___ ___ ___
       Tom Manca
       _____________________________________________________________                                                                                         35,829.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       425 West 46th Street Apt 4D
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10036
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.50
                                                                                                                     7 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           7 ___
                                                                                                                              8                              265.00
                                                                                                                                                            $____________
       Travelers Indemnity Co, Of America
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       POB 660317
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dallas                         TX      75266-0317
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.51                                                                                                                                                         149.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Upteam  Corporation
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       See Attachment 1
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Sheung Wan                     See
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 18    22
                                                                                                                                                                 __ of ___
Debtor 1
              19-23717-rdd
                 Adam                 Doc
                                       P. 1 Filed 09/26/19
                                                         Hutter      Entered 09/26/19
                 _______________________________________________________
                                                                                       14:30:39 Main Document
                                                                                  Case number (if known)_____________________________________
                 First Name   Middle Name      Last Name          Pg 40 of 105
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.52                                                                                Last 4 digits of account number ___ ___ ___ ___
       Vasilis Katejis
       _____________________________________________________________                                                                                         942.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Balmal Restaurant 635 Riverside Drive, 1E
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10031
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.53
       Wise Funding Group LLC                                                       Last 4 digits of account number ___ ___ ___ ___                          27,636.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       228 Park Avenue South #52825
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                       NY      10003
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
       
       X      At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.54                                                                                                                                                        $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 19    22
                                                                                                                                                                 __ of ___
Debtor 1
            19-23717-rdd
               Adam                 Doc
                                     P. 1 Filed 09/26/19
                                                       Hutter      Entered 09/26/19
               _______________________________________________________
                                                                                     14:30:39 Main Document
                                                                                Case number (if known)_____________________________________
               First Name   Middle Name      Last Name          Pg 41 of 105
Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Capital One Small Business Banking
     _____________________________________________________             On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     7933 Preston Road
     _____________________________________________________
                                                                       Line 4.8
                                                                            _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                             
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                                                        2 ___
                                                                       Last 4 digits of account number ___ 2 ___
                                                                                                              8 ___
                                                                                                                 0
     Plano, Texas 75024-2359
     _____________________________________________________
     City                                  State        ZIP Code


     Tatia Barnes, Esq.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     40 Wall Street
     _____________________________________________________
                                                                        Line 4.14
                                                                             _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street
                                                                                                      
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured
     28th Floor
     _____________________________________________________              Claims

     New York, New York 10005
     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     Celtic Bank
     _____________________________________________________
                                                                        Line 4.23
                                                                             _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                             
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured
     268 South State Street, #300
     _____________________________________________________
                                                                        Claims

     Salt Lake City, Utah 84111
     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code

     Kearns,Brinen  & Monaghan Esqs
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     20 East Division Street
     _____________________________________________________
                                                                        Line 4.25
                                                                             _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                             
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     Dover, Delaware 19901
     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     Steve Pepperman, Esq.
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     40 Fulton Street
     _____________________________________________________
                                                                        Line 4.28
                                                                             _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                             
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured
     7th Floor
     _____________________________________________________
                                                                        Claims

     New  York, New York 10038
     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code

     Kelly Barnett
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     c/o Swift Financial LLC
     _____________________________________________________
                                                                        Line 4.37
                                                                             _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                             
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured
     3505  Silverside Road
     _____________________________________________________
                                                                        Claims

     Wilmington, Delaware 19810
     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code

     Mazzola  Linstrum LLP
     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     733 3rd Ave.
     _____________________________________________________              Line 4.44
                                                                             _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street
                                                                                                      
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured
     15th Floor
     _____________________________________________________              Claims
     New York, New York 10017
     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page 20    22
                                                                                                                                                       __ of ___
Debtor 1
            19-23717-rdd
               Adam                 Doc
                                     P. 1 Filed 09/26/19
                                                       Hutter      Entered 09/26/19
               _______________________________________________________
                                                                                     14:30:39 Main Document
                                                                                Case number (if known)_____________________________________
               First Name   Middle Name      Last Name          Pg 42 of 105
Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     _____________________________________________________             On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     Richard Muller, Esq.
     _____________________________________________________
                                                                       Line 4.53
                                                                            _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                             
                                                                                                      X Part 2: Creditors with Nonpriority Unsecured Claims
     767 3rd Avenue
     _____________________________________________________
                                                                       Last 4 digits of account number ___ ___ ___ ___
     New York, New York 10017
     _____________________________________________________
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street
                                                                                                       Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________              Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number        Street
                                                                                                       Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims

     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page 21    22
                                                                                                                                                       __ of ___
Debtor 1
           19-23717-rdd
              Adam                 Doc
                                    P. 1 Filed 09/26/19
                                                      Hutter      Entered 09/26/19
              _______________________________________________________
                                                                                    14:30:39 Main Document
                                                                               Case number (if known)_____________________________________
              First Name   Middle Name      Last Name          Pg 43 of 105
Part 4:      Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        0.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         0.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page 22    22
                                                                                                                                           __ of ___
         19-23717-rdd          Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                                         Pg 44 of 105

                                                   Attachment
                                          Debtor: Adam P. Hutter Case No:


Attachment 1
     Unit 16A, Wing Sing Commercial Centre 12-16 Wing Lok Street
Attachment 2
     Hong Kong SAR
            19-23717-rdd               Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                             Main Document
                                                                  Pg 45 of 105

 Fill in this information to identify your case:

 Debtor               Adam P. Hutter
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Southern District of New York
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
            19-23717-rdd                      Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                       Main Document
                                                                         Pg 46 of 105
 Fill in this information to identify your case:

 Debtor 1         Adam   P. Hutter
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Southern District of New York
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         Dana Hutter
         ________________________________________________________________________________                 
                                                                                                          X Schedule D, line 2.1
                                                                                                                             ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         Hutter Auction Galleries LLC
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          
                                                                                                          X Schedule E/F, line 4.6
                                                                                                                                ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3      Hutter Auction Galleries LLC
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          
                                                                                                          X Schedule E/F, line 4.1
                                                                                                                                ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     5
                                                                                                                                                 page 1 of ___
               19-23717-rdd            Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1         Adam   P. Hutter                                 Pg 47 of 105
                 _______________________________________________________       Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                           Check all schedules that apply:
3.4
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.18,
                                                                                                                 ______4.2
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.5
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.3
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.6
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.4
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.7
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.5
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.8
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.7
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.9
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.8
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.10
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.9
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.11
        Hutter Auction Galleries LLC
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.10
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code




  Official Form 106H                                        Schedule H: Your Codebtors                                             2 of ___
                                                                                                                             page ___    5
               19-23717-rdd            Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1         Adam   P. Hutter                                 Pg 48 of 105
                 _______________________________________________________       Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                           Check all schedules that apply:
3.12
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.12
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.13
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.32,
                                                                                                                 ______4.13
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.14
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.33,
                                                                                                                 ______4.14
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.15
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.15
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.16
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.34,
                                                                                                                 ______4.16, 4.36, 4.37
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.17
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.17,
                                                                                                                 ______4.40, 4.41, 4.39
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.18
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line See Attachment 1
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.19
        Hutter Auction Galleries LLC
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.44,
                                                                                                                 ______4.19, 4.46
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code




  Official Form 106H                                        Schedule H: Your Codebtors                                              3 of ___
                                                                                                                              page ___    5
               19-23717-rdd            Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1         Adam   P. Hutter                                 Pg 49 of 105
                 _______________________________________________________       Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                           Check all schedules that apply:
3.20
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.20
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.21
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.45,
                                                                                                                 ______4.21
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.22
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.22
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.23
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.23
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.24
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.24
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.25
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.25
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.26
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.26
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.27
        Hutter Auction Galleries LLC
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.27
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code




  Official Form 106H                                        Schedule H: Your Codebtors                                              4 of ___
                                                                                                                              page ___    5
               19-23717-rdd            Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
Debtor 1         Adam   P. Hutter                                 Pg 50 of 105
                 _______________________________________________________       Case number (if known)_____________________________________
                 First Name     Middle Name    Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                           Check all schedules that apply:
3.28
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.28
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.29
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.29
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.30
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.30
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.31
       Hutter Auction Galleries LLC
       ________________________________________________________________________________     Schedule D, line ______
        Name
                                                                                           
                                                                                           X Schedule E/F, line 4.31
                                                                                                                 ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.32
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.33
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.34
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code
3.35
        ________________________________________________________________________________    Schedule D, line ______
        Name
                                                                                           Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                               Schedule G, line ______

        ________________________________________________________________________________
        City                                        State                   ZIP Code




  Official Form 106H                                        Schedule H: Your Codebtors                                             5 of ___
                                                                                                                             page ___    5
          19-23717-rdd               Doc 1            Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                                                    Pg 51 of 105

                                                          Attachment
                                                 Debtor: Adam P. Hutter Case No:


Attachment 1
     4.42, 4.47, 4.38, 4.48, 4.49, 4.43, 4.50, 4.35
               19-23717-rdd          Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                          Main Document
                                                                Pg 52 of 105
 Fill in this information to identify your case:


 Debtor 1           Adam   P. Hutter
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                              Southern District of New York
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                   
                                                                                                                    X Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Auctioneer/ Consultant
                                                                      __________________________________          Tech Support
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Fifth Avenue Auctions
                                                                     __________________________________           Traliant LLC
                                                                                                                  __________________________________


                                          Employer’s address       ________________________________________      40 Eagle Nest Rd.
                                                                                                                ________________________________________
                                                                     Number Street                                Number   Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________      Morristiwn, NJ 07960
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     2,500.00                 6,041.66
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     2,500.00
                                                                                              $__________               6,041.66
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
           19-23717-rdd                     Doc 1            Filed 09/26/19 Entered 09/26/19 14:30:39                                             Main Document
                                                                           Pg 53 of 105
Debtor 1          Adam P. Hutter
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.      2,500.00
                                                                                                                            $___________            6,041.66
                                                                                                                                                   $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      0.00
                                                                                                                           $____________            1,286.98
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________            598.96
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      0.00
                                                                                                                           $____________            1,885.94
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      2,500.00
                                                                                                                           $____________            4,155.72
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                               0.00                    0.00
                                                                                                                           $____________           $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            2,500.00
                                                                                                                           $___________     +       4,155.72
                                                                                                                                                   $_____________           6,655.72
                                                                                                                                                                         = $_____________
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      6,655.72
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
            19-23717-rdd             Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                    Main Document
                                                                 Pg 54 of 105
 Fill in this information to identify your case:

 Debtor 1          Adam P. Hutter
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                              Southern District of New York
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    wife                                                          No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X    Yes

                                                                                    child
                                                                                    _________________________                   16
                                                                                                                                ________          No
                                                                                                                                              
                                                                                                                                              X    Yes

                                                                                    child
                                                                                    _________________________                   13
                                                                                                                                ________          No
                                                                                                                                              
                                                                                                                                              X    Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   3,715.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      250.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
            19-23717-rdd              Doc 1      Filed 09/26/19 Entered 09/26/19 14:30:39                          Main Document
                                                               Pg 55 of 105
Debtor 1         Adam   P. Hutter
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     600.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     50.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     120.00
                                                                                                                     $_____________________
      6d.   Other. Specify: cell phones
                            _______________________________________________                                   6d.     150.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      800.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     50.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     200.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      500.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     200.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    155.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    90.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    275.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
             19-23717-rdd             Doc 1     Filed 09/26/19 Entered 09/26/19 14:30:39                            Main Document
                                                              Pg 56 of 105
Debtor 1         Adam   P. Hutter
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: See Attachment 1
                       _________________________________________________                                          21.     474.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.                                                                                   7,729.00
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     7,729.00
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           6,655.72
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           7,729.00

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           -1,073.28
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
         19-23717-rdd           Doc 1    Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                                       Pg 57 of 105

                                                  Attachment
                                         Debtor: Adam P. Hutter Case No:


Attachment 1
     Description: auto maintenance
     Amount: 200.00

    Description: temple dues
    Amount: 220.00

    Description: bar/bat mitzvah gifts
    Amount: 54.00
            19-23717-rdd                   Doc 1            Filed 09/26/19 Entered 09/26/19 14:30:39                                                   Main Document
                                                                          Pg 58 of 105

 Fill in this information to identify your case:

 Debtor 1          Adam   P. Hutter
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Southern District of New York
                                         ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 299,500.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 91,591.23
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 391,091.23
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 295,388.09
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 472,482.52
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 767,870.61
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 6,655.72
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 7,729.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
             19-23717-rdd              Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39                               Main Document
                                                                 Pg 59 of 105
Debtor 1         Adam P. Hutter
                 _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

    
    X Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                19-23717-rdd                Doc 1            Filed 09/26/19 Entered 09/26/19 14:30:39                               Main Document
                                                                           Pg 60 of 105
Fill in this information to identify your case:

Debtor 1          Adam P. Hutter
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Southern District of New York
                                        _______________________________________
Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    s/Adam P. Hutter
          ______________________________________________              
                                                                       _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 09/26/2019
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                           Declaration About an Individual Debtor’s Schedules                                       page 1
            19-23717-rdd             Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                            Main Document
                                                                Pg 61 of 105

 Fill in this information to identify your case:

 Debtor 1          Adam                    P.                     Hutter
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Southern  District of New York
                                         ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
           19-23717-rdd                Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                     Main Document
                                                                   Pg 62 of 105
Debtor 1        Adam P. Hutter
                _______________________________________________________                                  Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                            
                                                            X    Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            5,000.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                         
                                                            X    Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            63,184.00
                                                                                         $________________            bonuses, tips           $________________
            (January 1 to December 31, 2018
                                       _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                            
                                                            X    Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          60,807.00
                                                                                         $________________                                    $________________
            (January 1 to December 31, 2017
                                       _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
           19-23717-rdd                  Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                           Main Document
                                                                    Pg 63 of 105
Debtor 1       Adam  P. Hutter
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     X     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               
               X    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
           19-23717-rdd                   Doc 1          Filed 09/26/19 Entered 09/26/19 14:30:39                            Main Document
                                                                       Pg 64 of 105
Debtor 1           Adam  P. Hutter
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
           19-23717-rdd                      Doc 1          Filed 09/26/19 Entered 09/26/19 14:30:39                                   Main Document
                                                                          Pg 65 of 105
Debtor 1        Adam  P. Hutter
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case


                                                                                                        Supreme   Court , New York County
                                                                                                        ________________________________________        
                                                                                                                                                        X
                      Wise Funding Group LLC
            Case title_____________________________                                                     Court Name
                                                                                                                                                            Pending

                                                                                                                                                           On appeal
            See  Attachment 1
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



                                                                                                        Supreme   Court, Nassau County
                                                                                                        ________________________________________        
                                                                                                                                                        X   Pending
                      LG Funding LLC vs. Hutter
            Case title_____________________________                                                     Court Name
                                                                                                                                                           On appeal
            See  Attachment 2
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     X     No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
            19-23717-rdd                  Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                               Main Document
                                                                      Pg 66 of 105
Debtor 1          Adam  P. Hutter
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
            19-23717-rdd                 Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                         Main Document
                                                                     Pg 67 of 105
Debtor 1           Adam  P. Hutter
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Jeffrey L. Sapir                                                                                                            transfer was made
            ___________________________________
            Person Who Was Paid

            ___________________________________
            Number       Street                                                                                                         _________           $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address
            Dana  Ross Hutter and Adam Hutter
            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
           19-23717-rdd                   Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                     Main Document
                                                                      Pg 68 of 105
Debtor 1           Adam P. Hutter
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

          No
     
     X     Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            Money Management International
            ____________________________________
            Person Who Was Paid
                                                                                                                                     07/09/19
                                                                                                                                     _________              80.00
                                                                                                                                                           $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
           19-23717-rdd                     Doc 1      Filed 09/26/19 Entered 09/26/19 14:30:39                                     Main Document
                                                                     Pg 69 of 105
Debtor 1           Adam  P. Hutter
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     X     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               X   No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
            19-23717-rdd                   Doc 1             Filed 09/26/19 Entered 09/26/19 14:30:39                                          Main Document
                                                                           Pg 70 of 105
Debtor 1            Adam  P. Hutter
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________                                                               
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        No
     
     X     Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value

                                                                                                                            Mother's bank account
             Emergency Power of Attorney
             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
           19-23717-rdd                   Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                                Main Document
                                                                      Pg 71 of 105
Debtor 1           Adam  P. Hutter
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           X    A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     X     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Hutter Auction Galleries LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
           19-23717-rdd                   Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                     Main Document
                                                                      Pg 72 of 105
Debtor 1           Adam P. Hutter
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      s/Adam P. Hutter
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                 09/26/2019
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
         19-23717-rdd          Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                                         Pg 73 of 105

                                                   Attachment
                                          Debtor: Adam P. Hutter Case No:


Attachment 1
     vs Hutter Auction Galleries LLC and Adam Hutter
Attachment 2
     Auction Galleries LLC and Adam Hutter
                 19-23717-rdd             Doc 1              Filed 09/26/19 Entered 09/26/19 14:30:39                          Main Document
                                                                           Pg 74 of 105
Fill in this information to identify your case:

Debtor 1           Adam P. Hutter
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        Southern District Of New York
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                           No
          name:      Nationstar Mortgage          LLC d/b/a Mr. Cooper
                                                                                       Retain the property and redeem it.               
                                                                                                                                         X Yes
          Description of
          property                                                                    
                                                                                      X Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
            19-23717-rdd                   Doc 1     Filed 09/26/19 Entered 09/26/19 14:30:39                         Main Document
                                                                   Pg 75 of 105
Your name      Adam P. Hutter
               ______________________________________________________                            Case number (If known)_____________________________________
               First Name           Middle Name       Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                    Will the lease be assumed?

     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
     Description of leased                                                                                                Yes
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



 s/Adam P. Hutter
      ___________________________________________                   ___________________________________________
     Signature of Debtor 1                                            Signature of Debtor 2

          09/26/2019
     Date _________________                                           Date _________________
            MM /    DD   /   YYYY                                          MM /   DD /   YYYY




 Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                          page 2
              19-23717-rdd           Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39 Main Document
 Fill in this information to identify your case:                Pg 76 of 105     Check one box only as directed in this form and in
                                                                                                    Form 122A-1Supp:
 Debtor 1          Adam P. Hutter
                   __________________________________________________________________
                     First Name             Middle Name               Last Name
                                                                                                    
                                                                                                    X   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                        2. The calculation to determine if a presumption of
                                                                                                           abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: SOUTHERN  DISTRICT OF NEW YORK
                                         ____________________________________________
                                                                                                           Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                       3. The Means Test does not apply now because of
 (If known)                                                                                                qualified military service but it could apply later.


                                                                                                     Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      Not married. Fill out Column A, lines 2-11.
     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      Married and your spouse is NOT filing with you. You and your spouse are:
        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                    Column A              Column B
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                 $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                           $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                         $_________            $__________

 5. Net income from operating a business, profession,
                                                                   Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                            $______    $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______ _
                                                                                             Copy
     Net monthly income from a business, profession, or farm          $______     $______ here      $_________            $__________

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                            $______   $______
                                                                              _         _
     Ordinary and necessary operating expenses                    –   $______ – $______
                                                                              _         _
                                                                                             Copy
     Net monthly income from rental or other real property            $______     $______ here      $_________            $__________
 7. Interest, dividends, and royalties                                                               $_________            $__________



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                    page 1
              19-23717-rdd                             Doc 1                 Filed 09/26/19 Entered 09/26/19 14:30:39                                        Main Document
                                                                                           Pg 77 of 105
Debtor 1             Adam P. Hutter
                     _______________________________________________________                                                    Case number (if known)_____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                   Column A                  Column B
                                                                                                                                   Debtor 1                  Debtor 2 or
                                                                                                                                                             non-filing spouse

 8. Unemployment compensation                                                                                                        $__________                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................   $______________
           For your spouse ....................................................................           $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                           $__________                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

        ______________________________________                                                                                       $_________                 $___________
        ______________________________________                                                                                       $_________                 $___________
        Total amounts from separate pages, if any.                                                                                + $_________               + $___________
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                              $_________
                                                                                                                                                         +      $___________
                                                                                                                                                                                    =   $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here      $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.   $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.

     Fill in the number of people in your household.

     Fill in the median family income for your state and size of household. ................................................................................................. 13.   $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                    s/Adam P. Hutter
                          __________________________________________________________                                         ______________________________________
                          Signature of Debtor 1                                                                               Signature of Debtor 2

                         Date 09/26/2019
                              _________________                                                                               Date _________________
                              MM / DD / YYYY                                                                                       MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
¯¯¯¯¯
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
               19-23717-rdd               Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                        Main Document
                                                                     Pg 78 of 105
    Fill in this information to identify your case:


    Debtor 1         Adam P. Hutter
                     __________________________________________________________________
                        First Name               Middle Name            Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name               Middle Name            Last Name


    United States Bankruptcy Court for the: SOUTHERN  DISTRICT OF NEW YORK
                                            ____________________________________________

    Case number         ___________________________________________
    (If known)

                                                                                                         Check if this is an amended filing


Official Form 122A─1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


Part 1:          Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).
     
     X    No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
              submit this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.


Part 2:          Determine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  No. Go to line 3.
                  Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                              Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
     No. Complete Form 122A-1. Do not submit this supplement.
     Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
        No. Complete Form 122A-1. Do not submit this supplement.
        Yes. Check any one of the following categories that applies:
                    I was called to active duty after September 11, 2001, for at least        If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                        Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                               check box 3, The Means Test does not apply now, and
                    I was called to active duty after September 11, 2001, for at least
                                                                                               sign Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                               Form 122A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 122A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.         exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,             540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days
                                                                                               If your exclusion period ends before your case is closed,
                     before I file this bankruptcy case.
                                                                                               you may have to file an amended form later.


Official Form 122A-1Supp                           Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                             page 1
                19-23717-rdd                     Doc 1               Filed 09/26/19 Entered 09/26/19 14:30:39                                              Main Document
                                                                                   Pg 79 of 105
  Fill in this information to identify your case:                                                                                                 Check the appropriate box as directed in
                                                                                                                                                  lines 40 or 42:

  Debtor 1           Adam P. Hutter
                     _________________________________________________________________                                                            According to the calculations required by
                      First Name                             Middle Name                          Last Name
                                                                                                                                                  this Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                       
                                                                                                                                                  X    1. There is no presumption of abuse.

  United States Bankruptcy Court fo              SOUTHERN DISTRICT OF NEW YORK
                                                 __________                                                                                           2. There is a presumption of abuse.

  Case number         ___________________________________________
   (If known)
                                                                                                                                                   Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                           04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ............................................................... Copy line 11 from Official Form 122A-1 here ...........                   $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

    
    X    No. Fill in $0 for the total on line 3.
        Yes. Is your spouse filing with you?

                No. Go to line 3.
                Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

    
    X No. Fill in 0 for the total on line 3.

    Yes. Fill in the information below:

                State each purpose for which the income was used                                                       Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                            are subtracting from
                people other than you or your dependents                                                               your spouse’s income


            ___________________________________________________                                                          $______________


            ___________________________________________________                                                          $______________

            ___________________________________________________                                                        + $______________
                                                                                                                                     0.00
            Total. .................................................................................................     $______________
                                                                                                                                                Copy total here ...............    ─ $_________0.00


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                      $_________




Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                 page 1
             19-23717-rdd                   Doc 1            Filed 09/26/19                      Entered 09/26/19 14:30:39 Main Document
Debtor 1        Adam P. Hutter                                   Pg 80
                _______________________________________________________
                                                                                                    of 105    Case number (if known)_____________________________________
                First Name          Middle Name               Last Name




Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.



   National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.                                                                                                      $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                      $____________


       7b.    Number of people who are under 65
                                                                                      X ______

       7c.    Subtotal. Multiply line 7a by line 7b.                                  $____________              Copy here        $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                      $____________

       7e.    Number of people who are 65 or older                                    X ______


       7f.    Subtotal. Multiply line 7d by line 7e.                                  $____________              Copy here
                                                                                                                                 + $___________

       7g.    Total. Add lines 7c and 7f......................................................................................     $___________   Copy total here
                                                                                                                                                                     $________




Official Form 122A–2                                                         Chapter 7 Means Test Calculation                                                         page 2
             19-23717-rdd                   Doc 1            Filed 09/26/19                    Entered 09/26/19 14:30:39 Main Document
Debtor 1         Adam P. Hutter                                   Pg 81
                 _______________________________________________________
                                                                                                  of 105    Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name




   Local Standards                 You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. ........................................................................               $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed
              for your county for mortgage or rent expenses. ......................................................................            $___________


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                Name of the creditor                                                               Average monthly
                                                                                                   payment

                ___________________________________                                                 $____________

                ___________________________________                                                $____________


                ___________________________________ +                                              $____________

                                                                                                                               Copy                           Repeat this
                                             Total average monthly payment                          $____________
                                                                                                                               here
                                                                                                                                             ─ $___________   amount on
                                                                                                                                                              line 33a.


       9c.     Net mortgage or rent expense.
                                                                                                                                                              Copy      $___________
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                      $___________
               rent expense). If this amount is less than $0, enter $0. ..................................................................                    here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                             $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain       _________________________________________________________________
           why:
                         _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       1. Go to line 12.
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                              $___________




Official Form 122A–2                                                       Chapter 7 Means Test Calculation                                                                 page 3
           19-23717-rdd                  Doc 1         Filed 09/26/19                 Entered 09/26/19 14:30:39 Main Document
Debtor 1       Adam P. Hutter                                   Pg 82
               _______________________________________________________
                                                                                         of 105    Case number (if known)_____________________________________
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:    _______________________________________________________________
                                                   _______________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard. ...................................................             $___________

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add all
              amounts that are contractually due to each secured creditor in the 60 months
              after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                        Average monthly
                                                                               payment

                 _____________________________________                            $____________

                 _____________________________________                        +   $____________

                                                                                                             Copy                                Repeat this
                                    Total average monthly payment                 $____________
                                                                                                             here
                                                                                                                            ─   $____________    amount on
                                                                                                                                                 line 33b.

                                                                                                                                                Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                            Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. .............................          $____________   expense
                                                                                                                                                here .....    $_________



       Vehicle 2            Describe Vehicle 2:    _______________________________________________________________
                                                   _______________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard. .................................................              $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                        Average monthly
                                                                               payment


                 _____________________________________                            $____________



                 _____________________________________                        +   $____________


                                                                                                               Copy                              Repeat this
                                     Total average monthly payment                $____________
                                                                                                               here
                                                                                                                            ─ $____________      amount on
                                                                                                                                                 line 33c.

                                                                                                                                                Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                            Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. .....................................       $____________   expense
                                                                                                                                                here ...      $________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                            $________

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                             $________


Official Form 122A–2                                                Chapter 7 Means Test Calculation                                                           page 4
           19-23717-rdd            Doc 1           Filed 09/26/19           Entered 09/26/19 14:30:39 Main Document
Debtor 1      Adam P. Hutter                                   Pg 83
              _______________________________________________________
                                                                               of 105    Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your                     $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                   $________


   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.
                                                                                                                                              $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                              $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.                 $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                              $_______


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                             $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it     +   $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.
                                                                                                                                              $_______
       Add lines 6 through 23.




Official Form 122A–2                                           Chapter 7 Means Test Calculation                                               page 5
           19-23717-rdd              Doc 1      Filed 09/26/19           Entered 09/26/19 14:30:39 Main Document
Debtor 1       Adam P. Hutter                                   Pg 84
               _______________________________________________________
                                                                            of 105    Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                          $____________

       Disability insurance                                      $____________

       Health savings account                                +   $____________

       Total                                                     $____________                   Copy total here .....................................     $________

       Do you actually spend this total amount?

       
       X   No. How much do you actually spend?                   $___________
          Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                          $________
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                                                                                                            $________
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
      8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.                                                                                                                       $________
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                  $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                              + $_______
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.
                                                                                                                                                           $_______
       Add lines 25 through 31.




Official Form 122A–2                                        Chapter 7 Means Test Calculation                                                                page 6
             19-23717-rdd                         Doc 1              Filed 09/26/19                         Entered 09/26/19 14:30:39 Main Document
Debtor 1            Adam P. Hutter                                   Pg 85
                    _______________________________________________________
                                                                                                               of 105    Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                       Average monthly
                                                                                                                                                       payment
                    Mortgages on your home:

           33a. Copy line 9b here ................................................................................................................        $_____________

                    Loans on your first two vehicles:                                                                             
           33b. Copy line 13b here. ............................................................................................................          $_____________

           33c. Copy line 13e here. ...........................................................................................................           $_____________

           33d. List other secured debts:

                                                                                                                                   
                      Name of each creditor for other                              Identify property that                        Does payment
                      secured debt                                                 secures the debt                              include taxes
                                                                                                                                 or insurance?


                       _______________________________                             ________________________
                                                                                                                                         No
                                                                                                                                                           $____________
                                                                                                                                         Yes


                       _______________________________                             ________________________
                                                                                                                                         No
                                                                                                                                                           $____________
                                                                                                                                         Yes

                                                                                                                                         No
                       _______________________________                             ________________________                                            +   $____________
                                                                                                                                         Yes

                                                                                                                                                                            Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. ....................................................                                  $____________
                                                                                                                                                                            here        $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                        Name of the creditor                         Identify property that                    Total cure                                  Monthly cure
                                                                     secures the debt                          amount                                      amount

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =          +   $_____________

                                                                                                                                                                            Copy total
                                                                                                                                         Total             $_____________                $________
                                                                                                                                                                            here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims .................................................................                     $____________    ÷ 60 =       $_________

Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                   page 7
            19-23717-rdd                         Doc 1              Filed 09/26/19                        Entered 09/26/19 14:30:39 Main Document
Debtor 1           Adam P. Hutter                                   Pg 86
                   _______________________________________________________
                                                                                                             of 105    Case number (if known)_____________________________________
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
        
        X     No. Go to line 37.
             Yes. Fill in the following information.

                       Projected monthly plan payment if you were filing under Chapter 13                                                                   $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x    ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.
                                                                                                                                                                                      Copy total
                       Average monthly administrative expense if you were filing under Chapter 13                                                           $_____________                            $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                    $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                              $______________


       Copy line 37, All of the deductions for debt payment .............                          + $______________

                                                                     Total deductions                 $______________                           Copy total here ...............................      $_________


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

         39a.     Copy line 4, adjusted current monthly income .....                                  $_____________

         39b.     Copy line 38, Total deductions. .........                                       −   $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                                             Copy
                                                                                                      $_____________                                                $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

                                                                                                                                                                                             Copy
         39d. Total. Multiply line 39c by 60. ..................................................................................................................    $____________
                                                                                                                                                                                             here   $________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

        
        X     The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
              Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

              * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                                  page 8
            19-23717-rdd                       Doc 1               Filed 09/26/19                          Entered 09/26/19 14:30:39 Main Document
Debtor 1        Adam P. Hutter                                   Pg 87
                _______________________________________________________
                                                                                                              of 105    Case number (if known)_____________________________________
                First Name            Middle Name                   Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form. ...........................................................
                                                                                                                                                                       $___________

                                                                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                                                          Copy
                                                                                                                                                                                                 $________
               Multiply line 41a by 0.25. ..........................................................................................................................
                                                                                                                                                                       $___________    here




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                       Average monthly expense
               Give a detailed explanation of the special circumstances
                                                                                                                                                                       or income adjustment

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________
                                                                                                                                                                       $__________________

               _______________________________________________________________________________                                                                         $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                 s/Adam P. Hutter
                  ___________________________________________________                                                     ___________________________________
                  Signature of Debtor 1                                                                                          Signature of Debtor 2


                       09/26/2019
                  Date _________________                                                                                         Date _________________
                          MM / DD          / YYYY                                                                                        MM / DD         / YYYY



Official Form 122A–2                                                                 Chapter 7 Means Test Calculation                                                                             page 9
             19-23717-rdd
   Fill in this                     Doc
                information to identify the 1
                                            case:Filed          09/26/19 Entered 09/26/19 14:30:39                            Main Document
                                                                        Pg 88 of 105
  Debtor 1          Adam   P. Hutter
                    __________________________________________________________________
                      First Name                Middle Name             Last Name

  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                Middle Name             Last Name


  United States Bankruptcy Court for the: Southern District of New York
                                          ______________________________________

  Case number         ___________________________________________
   (If known)




Official Form 423
Certification About a Financial Management Course                                                                                                   12/15

If you are an individual, you must take an approved course about personal financial management if:
 you filed for bankruptcy under chapter 7 or 13, or
 you filed for bankruptcy under chapter 11 and § 1141 (d)(3) does not apply.

In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course.
If the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must
each file this form with the certificate number before your debts will be discharged.

 If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under
  § 341 of the Bankruptcy Code.

 If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or
  before you file a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).

In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a
motion with the court and obtain a court order.

 Part 1:           Tell the Court About the Required Course


 You must check one:

    
    X       I completed an approved course in personal financial management:

           Date I took the course                 07/09/2019
                                              ___________________
                                              MM / DD / YYYY


           Name of approved provider          Money   Management International Inc.
                                              ______________________________________________________________________


           Certificate number                 01267-NYS-CC-033083451
                                              ______________________________________________________________________


          I am not required to complete a course in personal financial management because the court has granted my motion for a
           waiver of the requirement based on (check one):

            Incapacity. I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                   about finances.

            Disability.           My physical disability causes me to be unable to complete a course in personal financial management in person,
                                   by phone, or through the internet, even after I reasonably tried to do so.
            Active duty. I am currently on active military duty in a military combat zone.
            Residence. I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the
                                   approved instructional courses cannot adequately meet my needs.

 Part 2:         Sign Here

          I certify that the information I have provided is true and correct.


         s/Adam P. Hutter
          ________________________________________________                Adam P. Hutter
                                                                          ________________________________________
                                                                                                                                09/26/2019
                                                                                                                           Date _________________
          Signature of debtor named on certificate                        Printed name of debtor                                MM / DD / YYYY


Official Form 423                                             Certification About a Financial Management Course
19-23717-rdd                Doc 1          Filed 09/26/19 Entered 09/26/19 14:30:39                                           Main Document
                                                         Pg 89 of 105
B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                                   SOUTHERN DISTRICT OF NEW YORK



In re Adam P. Hutter

                                                                                                Case No. ___________________

Debtor                                                                                          Chapter 7____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              1,750.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                            1,750.00

     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              0.00

2.   The source of the compensation paid to me was:

                Debtor                          X Other (specify) Dana Hutter and Adam Hutter

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
19-23717-rdd            Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39                           Main Document
                                                  Pg 90 of 105
B2030 (Form 2030) (12/15)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Additional fees will be charged for adversarial proceedings




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           September 26, 2019
           ______________________               s/JEFFREY L. SAPIR
           Date                                     Signature of Attorney

                                                JEFFREY L. SAPIR
                                                    Name of law firm
19-23717-rdd                     Doc 1                 Filed 09/26/19 Entered 09/26/19 14:30:39                                                                                        Main Document
                                                                     Pg 91 of 105


                                          UNITED STATES BANKRUPTCY COURT
                                                                 SOUTHERN DISTRICT OF NEW YORK


 In re                                                                                              Dothins
                                                                                                                                                  Chapter 7

                Adam P. Hutter                                                                                                                    Case No.
                                                                                                                                                  Dothins




 Dothins
                                         Debtors.



                                                        STATEMENT OF MONTHLY INCOME
 The undersigned certifies the following is the debtor's monthly income.


      Income:
      Dothins                                          Dothins
                                                                                          Debtor
                                                                                          Dothins             Dothins                                             Dothins
                                                                                                                                                                                     Spouse
                                                                                                                                                                                     Dothins




 Six months ago
 Dothins                                 Dothins
                                                                 $   0.00
                                                                     Dothins                                            Dothins                                        Dothins
                                                                                                                                                                                 $      5,416.66
                                                                                                                                                                                        Dothins




 Five months ago
 Dothins                                 Dothins
                                                                 $   0.00
                                                                     Dothins                                            Dothins                                        Dothins
                                                                                                                                                                                 $      6,259.82
                                                                                                                                                                                        Dothins




 Four months ago
 Dothins                                 Dothins
                                                                 $   0.00
                                                                     Dothins                                            Dothins                                        Dothins
                                                                                                                                                                                 $      6,041.66
                                                                                                                                                                                        Dothins




 Three months ago
 Dothins                                 Dothins
                                                                 $   2,000.00
                                                                     Dothins                                            Dothins                                        Dothins
                                                                                                                                                                                 $      6,041.66
                                                                                                                                                                                        Dothins




 Two months ago
 Dothins                                 Dothins
                                                                 $   500.00
                                                                     Dothins                                            Dothins                                        Dothins
                                                                                                                                                                                 $      6,341.66
                                                                                                                                                                                        Dothins




 Last month
 Dothins                                 Dothins
                                                                 $   0.00
                                                                     Dothins                                            Dothins                                        Dothins
                                                                                                                                                                                 $      11,041.66
                                                                                                                                                                                        Dothins




Total income for                                                                                                                  Dothins




six months preceding filing
Dothins                                      Dothins
                                                                 $    2,500.00
                                                                      Dothins                                                                                         Dothins
                                                                                                                                                                                 $       41,143.12
                                                                                                                                                                                         Dothins




Average Monthly Income
Dothins                                      Dothins
                                                                 $    416.67
                                                                      Dothins                                                     Dothins                             Dothins
                                                                                                                                                                                 $       6,857.19
                                                                                                                                                                                         Dothins




 Dated:
 Dothins
                   September 26, 2019
                   Dothins                                                      Dothins                                                 Dothins




 Dothins           Dothins                                                      Dothins                                                 Dothins
                                                                                                                                                            s/Adam P. Hutter
 Dothins           Dothins                                                      Dothins                                                 Dothins
                                                                                                                                                             Adam P. Hutter
 Dothins           Dothins                                                      Dothins                                                 Dothins
                                                                                                                                                                 Debtor
 Dothins           Dothins                                                      Dothins                                                 Dothins
    19-23717-rdd               Doc 1         Filed 09/26/19 Entered 09/26/19 14:30:39                                       Main Document
                                                           Pg 92 of 105
B2000 (Form 2000) (4/19)


                                         UNITED STATES BANKRUPTCY COURT
                                   REQUIRED LISTS, SCHEDULES, STATEMENTS, AND FEES
                                                 Voluntary Chapter 7 Case

☐           Filing Fee of $245. If the fee is to be paid in installments or the debtor requests a waiver of the fee, the debtor must be an individual and must
file a signed application for court approval. Official Form 103A or 103B and Fed.R.Bankr.P. 1006(b), (c).

☐          Administrative fee of $75 and trustee surcharge of $15. If the debtor is an individual and the court grants the debtor’s request, these fees are
payable in installments or may be waived.

☐        Voluntary Petition for Individuals Filing for Bankruptcy (Official Form 101) or Voluntary Petition for Non-Individuals Filing for
Bankruptcy (Official Form 201); Names and addresses of all creditors of the debtor. Must be filed WITH the petition. Fed.R.Bankr.P. 1007(a)(1).

☐           Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Director’s Form 2010), if applicable. Required if
the debtor is an individual with primarily consumer debts. The notice must be GIVEN to the debtor before the petition is filed. Certification that the
notice has been given must be FILED with the petition or within 15 days. 11 U.S.C. §§ 342(b), 521(a)(1)(B)(iii), 707(a)(3). Official Form 101 contains
spaces for the certification.

☐           Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119). Required if a “bankruptcy petition preparer”
prepares the petition. Must be submitted WITH the petition. 11 U.S.C. § 110(b)(2).

☐          Statement About Your Social Security Numbers (Official Form 121). Required if the debtor is an individual. Must be submitted WITH the
petition. Fed.R.Bankr.P. 1007(f).

☐          Credit Counseling Requirement (Official Form 101); Certificate of Credit Counseling and Debt Repayment Plan, if applicable; Section
109(h)(3) certification or § 109(h)(4) request, if applicable. If applicable, the Certificate of Credit Counseling and Debt Repayment Plan must be filed
with the petition or within 14 days. If applicable, the § 109(h)(3) certification or the § 109(h)(4) request must be filed WITH the petition. Fed.R.Bankr.P.
1007(b)(3), (c).

☐         Statement disclosing compensation paid or to be paid to a “bankruptcy petition preparer” (Director’s Form 2800). Required if a
“bankruptcy petition preparer” prepares the petition. Must be submitted WITH the petition. 11 U.S.C. §110(h)(2).

☐          Statement of Your Current Monthly Income (Official Form 122A). Required if the debtor is an individual. Must be filed with the petition
or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Schedules of assets and liabilities (Official Forms 106 or 206). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b),(c).

☐         Schedule of Executory Contracts and Unexpired Leases (Schedule G of Official Form 106 or 206). Must be filed with the petition or within
14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Schedules of Your Income and Your Expenses (Schedules I and J of Official Form 106). If the debtor is an individual, Schedules I and J of
Official Form 106 must be filed with the petition or within 14 days. 11 U.S.C. § 521(1) and Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of financial affairs (Official Form 107 or 207). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐           Copies of all payment advices or other evidence of payment received by the debtor from any employer within 60 days before the filing of
the petition. Required if the debtor is an individual. Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of Intention for Individuals Filing Under Chapter 7 (Official Form 108). Required ONLY if the debtor is an individual and the
schedules of assets and liabilities contain debts secured by property of the estate or personal property subject to an unexpired lease. Must be filed within
30 days or by the date set for the Section 341 meeting of creditors, whichever is earlier. 11 U.S.C. §§ 362(h) and 521(a)(2).

☐          Statement disclosing compensation paid or to be paid to the attorney for the debtor (Director's Form 2030). Required if the debtor is
represented by an attorney. Must be filed within 14 days or any other date set by the court. 11 U.S.C. § 329 and Fed.R.Bankr.P. 2016(b).

☐           Certification About a Financial Management Course (Official Form 423), if applicable. Required if the debtor is an individual, unless the
course provider has notified the court that the debtor has completed the course. Must be filed within 60 days of the first date set for the meeting of
creditors. 11 U.S.C. § 727(a)(11) and Fed.R.Bankr.P. 1007(b)(7), (c).
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 93 of 105
Dothins




                                  Celtic Bank
                                  268 South State Street, #300
                                  Salt Lake City,UT 84111

Dothins




                                  Richard Muller, Esq.
                                  767 3rd Avenue
                                  New York,NY 10017

Dothins




                                  1st Dibs
                                  90 Fifth Avenue 9th Floor
                                  New York,NY 10011

Dothins




                                  Alex Melnitzky
                                  322 East 77th Street #1F
                                  New York,NY 10075

Dothins




                                  Amy Schenkein
                                  21 Wormwood Street #622
                                  Boston,MA 02210

Dothins




                                  Anatoli Lapushner
                                  c/o Galina Ivanova
                                  46 West 83rd Street #3A
                                  New York,NY 10024

Dothins




                                  Arlene Isaacs
                                  875 West End Avenue #14C
                                  New York,NY 10025

Dothins




                                  Barry Calamia
                                  4801 Glenwood Road
                                  Brooklyn,NY 11234

Dothins
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 94 of 105
                                  Bret Morrison
                                  3155 East Ramon Road
                                  Palm Springs,CA 99264

Dothins




                                  Capital One
                                  POB 85111
                                  Richmond,VA 23285-5111

Dothins




                                  Capital One
                                  Attn: Mail Teller
                                  POB 17219
                                  Baltimore,MD 21297

Dothins




                                  Capital One
                                  POB 30283
                                  Salt Lake City,UT 84130-0285

Dothins




                                  Capital One Small Business Banking
                                  7933 Preston Road
                                  Plano,TX 75024-2359

Dothins




                                  Chase
                                  POB 15123
                                  Wilmington,DE 19850-5123

Dothins




                                  Dean Stracuzza
                                  110 Locust Lane
                                  Northport,NY 11768

Dothins




                                  Eric Englebert
                                  31 Nothside Drive
                                  Coram,NY 11727

Dothins




                                  Estate of Bruce Albone
                                  c/o AnneMarie Varga
                                  2489 Pinny Bark Drive
                                  Virginia Beach,VA 23456

Dothins
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 95 of 105
                                  Estate of Francois Levinthal
                                  c/o Lisa Levinthal
                                  725 West 184th Street Apt. 2N
                                  New York,NY 10033

Dothins




                                  Estate of Jeff Hunter
                                  c/o Martin Jaffe
                                  1415 Boston Post Road
                                  Larchmont,NY 10538

Dothins




                                  Estate of Jerome Adesman
                                  c/o Andrew Adesman
                                  120 Georgian Court
                                  Roslyn,NY 11576

Dothins




                                  Glenn Lillibridge
                                  100 Prince Street #5
                                  New York,NY
Dothins




                                  Greg Muczynski
                                  1955 East 7th Street
                                  Brooklyn,NY 11768

Dothins




                                  Howard Dawson

                                  329 Main Street
                                  Unadilla,NY 13849

Dothins




                                  Israel Gitman
                                  c/o Gabriel Drillich
                                  12 west 72nd Street #27B
                                  New York,NY 10021

Dothins




                                  Jill Bossert
                                  52 Garden Place
                                  Brooklyn,NY 11201

Dothins




                                  Kabbage on Line
                                  925 B Peachtree Street NE #1688
                                  Atlanta,GA 30309

Dothins
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 96 of 105
                                  Kearns,Brinen & Monaghan Esqs
                                  20 East Division Street
                                  Dover,DE 19901

Dothins




                                  Kelly Barnett
                                  c/o Swift Financial LLC
                                  3505 Silverside Road
                                  Wilmington,DE 19810

Dothins




                                  Krzysztof Kubinski
                                  ul. Jagiellonczyka 5/13
                                  Wroclaw,Poland
Dothins




                                  LG Funding
                                  1218 Union Street
                                  Brooklyn,NY 11225

Dothins




                                  Liberty Mutual Insurance
                                  POB 85830
                                  San Diego,CA 92186

Dothins




                                  Lucia Pavoni
                                  c/o Lucia Pavoni Colasanti
                                  166 East 63rd Street
                                  New York,NY 10065

Dothins




                                  Marc Neer
                                  220 East 65th Street #7G
                                  New York,NY 10065

Dothins




                                  Marcio Rosenhek
                                  Rua Da Crasa, Giu Ap.72
                                  So Paolo,Brazil
Dothins




                                  Marian Green
                                  430 East 86th Street #3c
                                  New York,NY 10028

Dothins
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 97 of 105
                                  Mary Gelber
                                  304 Clinton Place
                                  Hackensack,NJ 07601

Dothins




                                  Mazzola Linstrum LLP
                                  733 3rd Ave.
                                  15th Floor
                                  New York,NY 10017

Dothins




                                  Meryl Hittman
                                  286 Argyle Avenue
                                  Brooklyn,NY 11218

Dothins




                                  Michael Fisher
                                  15 Charles Street #4H
                                  New York,NY 10014

Dothins




                                  Nationstar Mortgage LLC d/b/a Mr. Cooper
                                  P.O.B. 60516
                                  City of Industry,CA 91716-0516

Dothins




                                  Newark Museum
                                  59 Washington Street
                                  Newark,NJ 07102

Dothins




                                  Normandy Real Estate
                                  c/o Terminal Fee Owner LP
                                  261 11th Avenue
                                  New York,NY 10001

Dothins




                                  Paris Fields
                                  c/o J. Garvin Mecking
                                  314 Main Street
                                  Sag Harbor,NY 11963

Dothins




                                  PayPal
                                  c/o WebBank
                                  215 South State Street, Suite 1000
                                  Salt Lake City,UT 84111-2339

Dothins
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 98 of 105
                                  Peddie School
                                  c/o Melissa Von Stade
                                  201 South Main Street
                                  Hightstown,NJ 08540

Dothins




                                  Priska Juschka & Arnold Katzen
                                  547 West 27th Street, Suite 307
                                  New York,NY 10001

Dothins




                                  Rebecca Bradley
                                  217 27th Street #2
                                  Brookyn,NY 11232

Dothins




                                  Rick Stein
                                  c/o Signature Bank
                                  261 Madison Avenue, 20th Floor
                                  New York,NY 10016

Dothins




                                  Rosalind Rosenberg

                                  1191 Pafrk Avenue
                                  New York,NY 10128

Dothins




                                  Sally Daniels
                                  201 East 25th Street     #16A
                                  New York,NY 10010

Dothins




                                  Shapiro Auctions
                                  506 East 74th Street
                                  New York,NY 10021

Dothins




                                  Shawn Slevin
                                  59-15 47th Ave. #15C
                                  Woodside,NY 11377

Dothins




                                  Steve Fallas
                                  60 West 57th Street #3L
                                  New York,NY 10019

Dothins
          19-23717-rdd   Doc 1   Filed 09/26/19 Entered 09/26/19 14:30:39   Main Document
                                               Pg 99 of 105
                                  Steve Pepperman, Esq.
                                  40 Fulton Street
                                  7th Floor
                                  New York,NY 10038

Dothins




                                  Suzanne Dirks
                                  50 1/2 Barrow Street
                                  New York,NY 10014

Dothins




                                  Taras Lishchynskiy
                                  Svobody 99
                                  30500 Polonne,Ukraine
Dothins




                                  Tatia Barnes, Esq.
                                  40 Wall Street
                                  28th Floor
                                  New York,NY 10005

Dothins




                                  Tom Manca
                                  425 West 46th Street Apt 4D
                                  New York,NY 10036

Dothins




                                  Travelers Indemnity Co, Of America
                                  POB 660317
                                  Dallas,TX 75266-0317

Dothins




                                  Upteam Corporation
                                  Unit 16A, Wing Sing Commercial Centre
                                  12-16 Wing Lok Street
                                  Sheung Wan,Hong Kong SAR
Dothins




                                  Vasilis Katejis
                                  c/o Balmal Restaurant
                                  635 Riverside Drive, 1E
                                  New York,NY 10031

Dothins




                                  Wise Funding Group LLC
                                  228 Park Avenue South #52825
                                  New York,NY 10003

Dothins
      19-23717-rdd             Doc 1       Filed 09/26/19 Entered 09/26/19 14:30:39                                 Main Document
                                                        Pg 100 of 105

                                                 UNITED STATES BANKRUPTCY COURT
                                                       Southern District of New York


                                     STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. § 341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

           The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS
       19-23717-rdd           Doc 1        Filed 09/26/19 Entered 09/26/19 14:30:39                              Main Document
                                                        Pg 101 of 105
           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell, if economically feasible, all property you own that is not exempt from these
actions.
           Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also
available to individuals. Creditors vote on whether to accept or reject a plan, which also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming
operations during the pendency of the plan.
           Finally, chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan. Debtors receive a
discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION, INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    September 26, 2019                                          s/Adam P. Hutter
                                                                    Adam P. Hutter




                                                                    2
       19-23717-rdd        Doc 1      Filed 09/26/19 Entered 09/26/19 14:30:39                Main Document
                                                   Pg 102 of 105

                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
(“Bankruptcy”) of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.
               Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


  Date September 26, 2019                                 s/Adam P. Hutter
                                                          Adam P. Hutter
                                                          Debtor




                                                          Joint Debtor


                                                          s/JEFFREY L. SAPIR
                                                          JEFFREY L. SAPIR
                                                          Attorney for Debtor(s)
      19-23717-rdd        Doc 1     Filed 09/26/19 Entered 09/26/19 14:30:39                   Main Document
                                                 Pg 103 of 105

                      IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                   SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER

           If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you, or you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN CONTRACT
SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need. Although bankruptcy can be complex, many cases are routine.


            Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you. Be
sure you understand the relief you can obtain and its limitations. To file a bankruptcy case, documents called a Petition,
Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need to be prepared
correctly and filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once your case
starts, you will have to attend the required first meeting of creditors where you may be questioned by a court official
called a "trustee" and by creditors.


          If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.


            If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan which
will be before a bankruptcy judge.

            If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.


             Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.



 Date September 26, 2019                                  s/Adam P. Hutter
                                                          Adam P. Hutter
                                                          Debtor




                                                          Joint Debtor


                                                          s/JEFFREY L. SAPIR
                                                          JEFFREY L. SAPIR
                                                          Attorney for Debtor(s)




                            This disclosure is provided to assisted persons pursuant to 11 U.S.C. §527(b)
19-23717-rdd      Doc 1     Filed 09/26/19 Entered 09/26/19 14:30:39            Main Document
                                         Pg 104 of 105




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                               :
In re Adam P. Hutter                           :             Case No.
                                               :
                                               :
                                               :             (Chapter 7 )
                                               :
                                      Debtor(s):
                                              :

                       DECLARATION RE: ELECTRONIC FILING

PART I --- DECLARATION OF PETITIONER[S]:

        I [We]                  Adam P. Hutter                 the undersigned debtor(s), hereby
declare under penalty of perjury, that the information I [we] have given my [our] attorney and
the information provided in the electronically filed petition is true and correct. I [We] consent to
my [our] attorney sending my [our] petition, this declaration, and the accompanying statements
and schedules to the United States Bankruptcy Court, the trustee appointed in my [our] case and
the United States Trustee. I [We] understand that failure to file
the signed original of this Declaration Re: Electronic Filing within 15 days following the date
the petition was electronically filed will cause my [our] case to be dismissed pursuant to 11
U.S.C. § 707 (a)(3) without further notice.

Dated: September 26, 2019

                       Signed: s/Adam P. Hutter
                       Signed:

PART II ---- DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that I have examined the above debtor's[s'] petition,
schedules and statements and, to the best of my knowledge and belief, they are true, correct, and
complete. The debtor[s] will have signed this form before I file the petition, schedules and
statements. I will give the debtor[s] a copy of all forms and information to be filed with the
Untied States Bankruptcy Court and I will send copies of this declaration, the petition, schedules
and statements to the trustee appointed in this case and to the United States Trustee. This
declaration is based upon all information of which I have knowledge.

Dated: September 26, 2019

                                              Signed: s/JEFFREY L. SAPIR
                                                     Attorney for the Debtor[s]
          19-23717-rdd             Doc 1          Filed 09/26/19 Entered 09/26/19 14:30:39                           Main Document
                                                               Pg 105 of 105
                                                     UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF NEW YORK


In re:   Adam P. Hutter                                                                               Case No.
                                                  Debtors
                                                                                                      Chapter    7


                                        VERIFICATION OF CREDITOR MATRIX
               The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
          attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
          Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




          Dated:     September 26, 2019                                        Signed:   s/Adam P. Hutter




          Dated:                                                               Signed:




          Signed:     s/JEFFREY L. SAPIR
                      JEFFREY L. SAPIR
                      Attorney for Debtor(s)
                      Bar no.: 0938
                      10 Topaz Court
                      Suffern, New York 10901


                      Telephone No.: (914)     328-7272
                      Fax No.:
                      E-mail address: INFO@SAPIRLAW.COM
